IN THE UNITED STATES DISTICT COURT FOR
THE DISTRIC OF MARYLAND GREENBELT

DIVISION. yur y 0 or nde ff HD
Francis Keister Rev'd by:
PLAINTIFF, noah
se 23CV241
V. u AY)
Wake County District Attorney Office
Lorrin Freeman Wake County District Attorney
Offiee DA
In Her Official and Individual Capacity.
The Government, City of Raleigh and the Raleigh
NC Poise gor Partment In it Official Capacity
Officer Evatta In His Individual and Official
Capacity Ls a24
Officer Windesky In His Individual and Official
Capacity
Officer Alonso In His Individual and Official
Capacity
' Capa city

Greyhound Line Inc _—- N.C.7en Xk otf cic

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Jane Doe. In Her Individual and Official Capacity
as an Employee of Greyhound Line Inc.

DEFENDANTS.
BASIC JURISDICTION.

11:42.U.S.C.1983, NCPI 806.50 NCPI 143/291
AND NCPI 143/300.1 Francis Keister a Resident of
Maryland is bring this action against all named
Defendants in Violation of his Civil Rights, Libel,
Slander and Defamation of Character. This
Violations also Includes Wrongful Arrest in
Violation of his constitutional rights. Improper
Search without a probable cause in Violation of his
4‘ Amendment to the United States Constitution.

COUNTY OFFICAILS, AND A PRIVATE
PARTY.

(B) Pro-Se Plaintiff is bringing this action pursuant
A2 U.S.C. 1983 in violation of his Civil Rights and
other States Rights.This Rights includes false
arrest, improper search, solitary confinement in
violation of his civil right under the 4° amendment
to the United States Constitution. States, and Federal

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Rights violated include 42 U.S.C 1983 Libel,
Slander and Defamation of Character under NCPI
806.50 143 291 143 300.

(D) 1:Plaintiff was unlawfully arrested by the
Raleigh NC Police Department on 09/7/2022

2:Plaintiff was unlawfully prosecuted by the Wake
County District Attorney for a crime he did not
commit.

3: Plaintiff was wrongfully accused of a Trespass at
a Greyhound Line Inc Bus Station on 2210 Capital
Blvd Raleigh NC 27604 which lead him to spend
Days in the Wake County NC jail from September
7" 2022, to September 23" 2022.

L11:STATEMENT OF CLAIM.

Plaintiff Francis Keister a former Resident of
Nashville Tennessee Boarded a Greyhound Bus
from Washington D.C. heading to Nashville
Tennessee on September 7" 2022, with a brief stop
in Richmond V.A. and a second stop in Raleigh N.C
Greyhound Bus Station when the incident arising to
this action took place.

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At around 3:00 Am to sometimes between 4:30 Am
if Plaintiff could properly recall the arrival time due
to duration of event to the time of filing this
complaint.During this trip in Raleigh NC Greyhound
Bus Station was around 4:00 am to 4:30 am.

Upon the Bus arrival Plaintiff had a brief interaction
with one of the Greyhound Bus Drivers Immediately
the Bus arrived in Raleigh while all passengers were
standing outside the Bus Terminal outside of the
Bus Station. During this Interaction a possible called
was made to the Raleigh NC Police Department.
Three 3 Police Officials arrived from the Raleigh
Police Department NC. Plaintiff had a conversation
with the three Officials one Black Male officer, one
white Male officer, and a female white officer. I was
asked what the matter was I explained to them of
one of the Drivers at the Bus Station had pick me out
immediately the Bus arrived at the Bus Station. This
could be the reason why you guys are Here. after
a brief conversation with the officials, upon their
returned from talking to the Lady that made the
called I was then asked to leave the Bus Station by
the Officials. I told the Officials that I was a

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Lawful passenger at the Bus Station waiting on my
next Bus to Nashville Tennessee how could a
Greyhound Bus Driver asked me to leave the Bus
station? During that Interaction there was even an
attempt to put me in handcuff. My hand were briefly
placed behind my back by two of the officials
while speaking with me. I was not causing any
problem neither prior to their arrival, or during this
time I was having word with them.

They walked me outside of the Bus Terminal and
take me outside of the Bus Station into the street.
They subsequently left. When my Bus arrival time
came I went to the Bus Station to get into the Bus to
Nashville I was not allowed to onboard the Bus by
the Bus Driver. That Bus left.Afer spending the rest
of the night outside on the street, because I was not
allowed to enter into the building In the morning |
went to Salvation Army and Placed a called to
Greyhound Customer Service and explained to them
the problem that I was having with Greyhound the
Local Greyhound in Raleigh in NC.I provided
Customer Service with my Booking Number and it
being said that my Booking number heading to

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Nashville was still valid. I was then asked by the
Greyhound Custer Service agent to go back to the
Bus Station and asked to speak with a manager
which I did. While I did this the said manager did
told me to speak with off the lady at the Bus Station
that has being giving hand time. Who made the
called to the police. During this time after the
manager has left the lady did called the police. Three
Raleigh NC Police Department Officers arrived at
the Location on 2210 Capital Blvd, Raleigh NC.
When they arrived they went into the Building of the
Bus Station and briefly spoke with the lady at the
station she told them that I was not allowed in the
Bus Station, They came back to me asked me
toand said that I was Trespassing, and I, m being
detained for trespassing. I try to explained to them
that I,m a passenger at the station heading to
Nashville, how could I be trespassing at the station.
Why having this conversation I was then grab by the
hands placed my hands behind my backs and placed
in hand cuffs.at this time there were 2 two officers.
Officer Windesky, and officer Evitta. After being
handcuff I was placed in officer Windesky Patrol

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Vehicle after I was being search in person. My
backpack was then being search by officer Evitta.
Officer Windesky joined him after he had placed in
to the patrol Vehicle.

While being search, and process in that process a
radio called was made for a backup, that brought in
officer Alonso in this process a Transferred of
Custody was made from OFFICER Windesky to
OFFICER ALONSO. I was then asked to leave
officer Windesky Patrol Vehicle into Officer Alonso
Patrol Vehicle who ended taken me to the Wake
County Jail. Upon arrival into Wake County Jail I
was then being process Placed photo taken and made
my first appearing before a Magistrate fora BOND
HEARING.my bond was set at 500.000 Five
Hundred Dollars by the Magistrate I was not able to
provide that Bond in order to Bond out which lead
to Spend those Days in Jails for a crime I did not
commit due to a false arrest.

My rights were violated by the Arresting Agency.
The Raleigh NC Police Department. The Wake
County District Attorney Office in both their
official, and in their Individual Capacities.

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with any JUDGE on that Day. After several Hours I
was then told by a sheriff officer that the case has

been dismiss I,m will taken back to the wake county
jail shortly by the Sheriff officer that brought me in.

That is how that allege meeting that I was supposed
to meet with a Judge ended. I never saw a Day I was
discharged and asked to free to go after spending
Days in Jail for a crime I did not commit.

A:EVENT OCCOURED AT 2210 capital blvd
Raleigh NC 27604

Wake County Justice Center 300 S. Salisbury Street
Raleigh NC 27604

B: Event happened on September 7" 2022.

And other Days followed within the same Month in
relation to this complaint.

(C) 1:] was wrongfully arrested by the Raleigh NC
Police Department.

2:1 was wrongfully prosecuted by the Wake
County District Attorney.

3: I was wrongfully accused of an act of a crime,
for which I was arrested. The act of a Trespass

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Greyhound Line Inc and at some point even the
Wake County Jail.

The said charges were later asked out after a third
Hearing schedule at the Wake County Justice
Center. After the September 7" Bond Hearing my
next Court hearing was schedule for the 15" of
September of 2022, I did appear for that hearing via
a Video Link. While being in a holding room the
Judged did asked me if I needed the state to provide
me an Attorney I did ok. After that with a brief
conversation with Judge the video hearing ended.
And I was then taken to my holding room.

September 23" was my next hearing which I did
show up for. In that hearing I was supposed to meet
with a Judge to neither be released free because I
could not afford to past a bond. In that FRIDAY
SEPTMBER 238? HEARING THERE WAS NO
JUDGE. I could not meet, or neither saw a judge on
that Day I was supposed to be meeting with a judge
after being placed in a Van from the Wake County
Jail to the Wake County Justice Center Downtown
Raleigh NC. After several hours seating in the
holding room at the Justice Center, I could not meet

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which was false in nature meant to Damage my
reputation, and physically put me in Danger.

(1V) Injuries sustained were emotional and Physical
injuries. Other Injuries but not limited to Pain and
suffering, Possible eye Problem due to exposure to
Light in the Prison. Damage to my reputation, lost of
wages and living unable to find an appropriate place
to Live, and find a job due to the unlawful arrest.
Humiliation in the community, and Damage to my
good standing in the community prior to this
incidents.

(V) DEMAND FOR RELIEF

I Respectively make the following demand for
Relief.

1: I Demand an Injunctive Relief from the Wake
County District Attorney Office, and the 10"
Judicial Circuit Court for North Carolina to Seale
my arrest record from public access.

I also Demand a reasonable amount of monetary
compensation that is just, and appropriate which 1s
to be determined by this court for (a)pain and
suffering.(b) Damage to my reputation (c) Lost of

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income due to Defendant action that has lead me not
to be able to secure an employment. I further request
that this court entered any Relief deed Just and
Appropriate that I could not state in this Request for
Relief for the above Defendants.

(2) | Demand a Relief of 5 Million Dollars form the
following Defendants The Government City of
Raleigh, and the Raleigh Palice > Department In there
Official Capacity. Officer Wihdesky In| In his Official,
and Individual Capacities. Officer Evatta In his
Official, and Individual Capacities. Officer Alonso,

In Official and Individual Capacities.

(3) | Demand a Relief of 1 Million Dollars from
Defendant Jane Doe. For Slander and Defamation of
eharacter-— * Ler a Lrdiudual Cops cb

(4) I Demand a Mbnstaty Rolls oF $0’ Million
Dollars from Greyhound Lines Inc for pain and
Suffering, Lost of Income, emotional
distress,Slander/ Defamation of Character, Damage
to my reputation and good name in the community
False arrest that lead to my imprisonment, lost of
Housing, and Lost of Employment.

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CERTIFICATION AND STATEMENT

I Francis Keister proceeding in this matter Pro-Se
rightfully attest that all statement made in this filing
are real, and true to my knowledge at the time of
submission to this court.

Respectfully Submitted

Francis Keister

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